Filed 8/23/24 P. v. Gonzalez CA2/2
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION TWO


 THE PEOPLE,                                                            B330462

           Plaintiff and Respondent,                                    (Los Angeles County
                                                                        Super. Ct. No. LA095505)
           v.

 ROBERTO MERCADO GONZALEZ,

           Defendant and Appellant.


      APPEAL from a judgment of the Superior Court of Los
Angeles County. Martin Larry Herscovitz, Judge. Affirmed.
      Nicholas Seymour, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Senior
Assistant Attorney General, Jason Tran and Kristen J. Inberg,
Deputy Attorneys General, for Plaintiff and Respondent.
               _________________________________
       Roberto Mercado Gonzalez appeals the judgment entered
following a jury trial in which he was convicted of rape of a
person who was unconscious or asleep (Pen. Code,1 § 261, subd.
(a)(4)(A); count 1) and forcible rape (§ 261, subd. (a)(2); count 2).
The trial court sentenced appellant to the low term of three years
on both counts, to be served concurrently. Appellant contends
that the trial court erred in imposing concurrent sentences on
counts 1 and 2 rather than staying the sentence on count 2 under
section 654. We disagree and affirm.
                    FACTUAL BACKGROUND
       In September 2021, 19-year-old Diana lived with her
mother, stepfather, and six siblings. Her stepfather’s parents,
three brothers, and two sisters lived in another house on the
same property. Appellant is one of Diana’s step-uncles (her
stepfather’s brother). Diana did not like appellant, she had no
relationship with him, and they did not interact with each other.
       On September 11, 2021, Diana went to a party with one of
appellant’s sisters (Veronica), one of his brothers, the brother’s
girlfriend (Miranda), and appellant. Before the party Diana
smoked marijuana, and at the party she drank alcohol. She left
the party around 1:00 a.m., and returned home feeling “drunk
and a little high.” She and Veronica went to Veronica’s room
where Diana fell asleep, still wearing the underwear and dress
she had worn to the party.
       Diana awoke around 7:00 a.m. with a pillow pressed to her
face. The pillow was being held “forcefully on [her] face,” and she
was unable to move it. There was a heavy weight on the pillow,
and she felt like she was suffocating. Diana did not know what


      1 Undesignated statutory references are to the Penal Code.




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was happening until she felt someone touching her inner thighs
and holding her legs open with his knees. She felt the man’s
penis inside her vagina, and realized she was being raped. It felt
dry and forced and painful. When Diana tried to remove the
pillow from her face, the assailant grabbed her hands by the
wrist. Diana began to panic. Using all of her strength, Diana
managed to push the pillow away and saw appellant on top of
her. He was wearing a white shirt and was naked from the waist
down. Diana then kicked appellant off of her, picked up her
underwear from the floor, and left the room.
      Outside the room Diana ran into Veronica and told her that
appellant had raped her. Veronica and Miranda drove Diana to
the hospital where she spoke to the police. She told them
appellant had raped her and that he had penetrated her twice.2
      A few hours after the police interview, Diana was
interviewed and underwent a sexual assault examination by a
registered nurse/forensic nurse examiner. Diana told the nurse
that appellant had penetrated her twice. Appellant’s DNA was
found on Diana’s right and left thighs, her super pubic region,
and perianal region, and his spermatozoa was found on the dress
Diana was wearing when he raped her.




      2 Portions of the police body camera video of this interview
were played for the jury. At trial, Diana recalled telling the
police appellant had penetrated her twice, but testified that she
could not remember two penetrations and remembered that
appellant’s penis was fully inserted and then withdrawn from her
vagina.




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                            DISCUSSION
   The Trial Court Did Not Err in Imposing Concurrent
   Sentences on Counts 1 and 2 Rather Than Staying the
   Sentence on Count 2 Under Section 654
   A. Relevant proceedings
       In his sentencing memorandum, appellant asserted the
punishment on count 1 or 2 must be stayed under section 654,
making his maximum exposure six years in state prison. At the
sentencing hearing, the trial court disagreed, stating that
appellant’s maximum possible sentence was 12 years, because he
could be sentenced to consecutive six-year terms on counts 1 and
2. Citing People v. Harrison (1989) 48 Cal.3d 321 (Harrison), the
trial court explained that section 654 does not apply where
multiple sex offenses are committed against a single victim in
quick succession, as was the case here.
       Appellant argued that People v. White (2017) 2 Cal.5th 349(White) was more relevant because it presented “virtually the
identical [factual] situation” as the instant case. In that case, our
Supreme Court held that defendant could be convicted of rape of
an intoxicated person (§ 261, subd. (a)(3)) and rape of an
unconscious person (§ 261, subd. (a)(4)(A)) based on the same act,
but could not be punished for both offenses. (Id. at pp. 351–352.)
The trial court distinguished White on the ground that the
defendant in that case was convicted of two distinct rape charges
based on the same act, whereas here, “[appellant] raped [the
victim] while she was unconscious, and then the penis was
withdrawn, [and] reinserted by force. So there were at least two
acts of rape in our case.”
       Appellant responded that a separate count was not alleged
for each act and the testimony showed only one act of




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penetration. The court disagreed, stating that the testimony
concerning the victim’s prior statements established “there were
at least two insertions.” Appellant replied, “[B]ut there was not a
separate act of penetration alleged. There [were] two counts of
rape of unconscious, and rape by force or fear. There was not a
separate act alleged [in the information]. It was not amended to
add a separate count of penetration. There was only one count of
penetration.” Again, the trial court disagreed: “No, read the
information. The information said two counts. The jury
instructions said two count[s]. The court instructed that each
count is a separate crime. The testimony was that there were at
least two insertions. So they found him guilty based upon at
least two insertions, and under Harrison, those are two crimes for
which 654 does not apply.”
    B. Applicable law
       Section 654 provides: “An act or omission that is
punishable in different ways by different provisions of law may
be punished under either of such provisions, but in no case shall
the act or omission be punished under more than one provision.”
(§ 654, subd. (a).) The purpose of section 654 is to ensure that the
punishment for a defendant’s criminal behavior is commensurate
with his culpability. (Harrison, supra, 48 Cal.3d at p. 335; People
v. Patton (2024) 101 Cal.App.5th 922, 930.) Our Supreme Court
has explained that “[w]hether a defendant may be subjected to
multiple punishment under section 654 requires a two-step
inquiry, because the statutory reference to an ‘act or omission’
may include not only a discrete physical act but also a course of
conduct encompassing several acts pursued with a single
objective. [Citations.] We first consider if the different crimes
were completed by a ‘single physical act.’ [Citation.] If so, the




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defendant may not be punished more than once for that act.
Only if we conclude that the case involves more than a single
act—i.e., a course of conduct—do we then consider whether that
course of conduct reflects a single ‘ “intent and objective” ’ or
multiple intents and objectives.” (People v. Corpening (2016) 2
Cal.5th 307, 311 (Corpening).)
       “Whether a defendant will be found to have committed a
single physical act for purposes of section 654 depends on
whether some action the defendant is charged with having taken
separately completes the actus reus for each of the relevant
criminal offenses.” (Corpening, supra, 2 Cal.5th at p. 313.) And
where a case involves a course of conduct, “if all of the offenses
were merely incidental to, or were the means of accomplishing or
facilitating one objective, [a] defendant may be found to have
harbored a single intent and therefore may be punished only
once.” (Harrison, supra, 48 Cal.3d at p. 335.) But if the
defendant “harbored ‘multiple criminal objectives,’ which were
independent of and not merely incidental to each other, he may
be punished for each statutory violation committed in pursuit of
each objective, ‘even though the violations shared common acts or
were parts of an otherwise indivisible course of conduct.’ ” (Ibid.)
       Even when the defendant has a single overall objective,
however, a finding of multiple independent objectives may be
supported by a showing that the defendant engaged in
consecutive acts which reflect a decision to continue the course of
criminal conduct notwithstanding an opportunity to reflect and
stop the behavior. (Harrison, supra, 48 Cal.3d at p. 338
[defendant properly punished for multiple digital penetrations
where, “instead of taking advantage of an opportunity to walk
away from the victim, he voluntarily resumed his sexually




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assaultive behavior”]; People v. Brown (1994) 28 Cal.App.4th 591,
601 (Brown) [defendant punished for multiple reinsertions of
penis under circumstances showing that “[e]ach time [the victim]
struggled and defendant’s penis came out, he could have chosen
to stop his attack”]; see also People v. Latimer (1993) 5 Cal.4th
1203, 1211–1212.)
       In the context of sex crimes, the courts have recognized
that although a defendant may have the single overall objective
of sexual gratification, section 654 generally does not bar
multiple punishment for multiple statutory violations if the
circumstances show “separate base criminal acts” upon the
victim. (Harrison, supra, 48 Cal.3d at pp. 325 [“section 654 does
not bar multiple punishment simply because numerous sex
offenses are rapidly committed against a victim with the ‘sole’
aim of achieving sexual gratification], 337–338 [“it is defendant’s
intent to commit a number of separate base criminal acts upon
his victim, and not the precise code section under which he is
thereafter convicted, which renders section 654 inapplicable”];
Brown, supra, 28 Cal.App.4th at p. 601.) Indeed, where multiple
sex acts committed on a single occasion result in multiple
statutory violations the “offenses are generally ‘divisible’ from
one another under section 654, and separate punishment is
usually allowed.” (People v. Scott (1994) 9 Cal.4th 331, 344, fn. 6;
see also People v. Hicks (1993) 6 Cal.4th 784, 788, fn. 4 [“We
previously have held that this statute does not prohibit the
imposition of multiple punishment for separate sexual offenses
committed during a continuous attack, ‘even where closely
connected in time’ ”]; Harrison, supra, 48 Cal.3d at pp. 335–338;
see People v. Perez (1979) 23 Cal.3d 545, 552–554 [intent and




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objective to achieve sexual gratification “is much too broad and
amorphous to determine the applicability of section 654”].)
       The determination of “[w]hether section 654 applies in a
given case is a question of fact for the trial court, which is vested
with broad latitude in making its determination.” (People v.
Jones (2002) 103 Cal.App.4th 1139, 1143; People v. Carter (2019)
34 Cal.App.5th 831, 844 (Carter).) “We review any factual
findings underlying the trial court’s ruling for substantial
evidence” (People v. Washington (2021) 61 Cal.App.5th 776, 795),
considering “the trial court’s determination in the light most
favorable to the [People] and presum[ing] the existence of every
fact the trial court could reasonably deduce from the evidence”
(Jones, supra, at p. 1143). If supported by substantial evidence,
we must uphold the trial court’s determination that two crimes
were separate and not subject to section 654. (People v. Brents
(2012) 53 Cal.4th 599, 618.)
   C. The trial court properly imposed separate sentences
on counts 1 and 2 rather than staying the sentence on
count 2 under section 654
       The trial court imposed concurrent sentences on counts 1
and 2, concluding that section 654 did not apply because there
were two separate acts of penetration. Appellant concedes that
substantial evidence would support a finding that two
penetrations occurred, but argues that the trial court actually
made no such finding. Rather, appellant asserts that the trial
court mistakenly believed⎯based on the information,
prosecution’s argument, and the jury instructions⎯that the jury
had necessarily made the factual finding that two penetrations
had occurred. According to appellant, the information contained
no allegation of separate acts of penetration, and the jury was not




                                  8
required to determine whether there were separate acts of
penetration. Appellant thus concludes that in the absence of any
such factual finding by the jury, the trial court erred by failing to
make its own finding, and its determination that section 654 did
not apply to this case is unsupported by any factual finding. We
disagree.
       We reject appellant’s contention that the trial court did not
make an independent factual finding that there were two
penetrations, but instead relied on its mistaken belief that the
jury necessarily found two penetrations to conclude that section
654 did not apply. In distinguishing the White case, the court
plainly stated its view that two separate acts of penetration were
established by the evidence. On the basis of this express finding,
the trial court ruled that section 654 did not prohibit concurrent
sentencing on counts 1 and 2. Although the jury was not
required to make an affirmative factual finding concerning the
number of penetrations, there was no language in the charging
document or verdict forms to preclude it from doing so. And the
trial court’s view that the jury had found appellant guilty based
on an implied finding that there were “at least two insertions” did
not prevent the court from making the same express finding
based on the evidence in the exercise of its sentencing discretion.
(See Carter, supra, 34 Cal.App.5th at pp. 842–844 [trial court
may rely on any of the facts in evidence at trial to make its
decision under § 654 as long as it does not make factual findings
that conflict with express findings by the jury].)
       In short, nothing in the record supports appellant’s
contention that the trial court failed to make its own
determination under section 654 based on the evidence presented
at trial.




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                       DISPOSITION
     The judgment is affirmed.
     NOT TO BE PUBLISHED.




                               LUI, P. J.
We concur:




     CHAVEZ, J.




     HOFFSTADT, J.




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